Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.537 Page 1 of 14




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 10                       UNITED STATES DISTRICT COURT
 11                     SOUTHERN DISTRICT OF CALIFORNIA
 12    CITIZENS FOR QUALITY
       EDUCATION SAN DIEGO, et al.,                  Case No. 17-cv-1054-BAS-JMA
 13
                                     Plaintiffs,     ORDER:
 14
                                                      (1) GRANTING EX PARTE
 15           v.                                          MOTION FOR EXPEDITED
                                                          DISCOVERY
 16    SAN DIEGO UNIFIED SCHOOL
       DISTRICT, et al.,                                  AND
 17
                                   Defendants.        (2) GRANTING IN PART AND
 18                                                       DENYING IN PART THE
                                                          JOINT MOTION TO
 19                                                       CONTINUE
 20                                                  [ECF Nos. 25, 27]
 21
 22
 23
 24
 25         Presently before the Court is an ex parte motion filed by Plaintiffs for “limited”
 26   expedited discovery which they assert is needed for their pending motion for a
 27   preliminary injunction. (ECF No. 25.) The parties have also filed a joint motion
 28   requesting that the Court “defer” ruling on the ex parte motion for expedited
                                               –1–                                    17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.538 Page 2 of 14




  1   discovery and continue the hearing date on the preliminary injunction hearing for a
  2   period of four weeks. (ECF No. 27.) For the reasons herein, the Court grants the ex
  3   parte motion for expedited discovery, as modified herein. The Court grants in part
  4   and denies in part the joint motion to continue.
  5      I.        BACKGROUND
  6           A.    Relevant Facts
  7           This case concerns the Anti-Islamophobia Initiative (the “Initiative”) of the
  8   San Diego Unified School District (“SDUSD” or the “District”), developed to
  9   address bullying of and discrimination against Muslim students. Defendants are
 10   alleged to have violated the various religion clauses of the California and Federal
 11   Constitutions as well as certain state laws because of this Initiative and its execution
 12   in the District.
 13           Plaintiffs allege that the Defendant school board members directed the
 14   District’s Superintendent, Defendant Cynthia Marten, to develop the Initiative.
 15   They contend that in April 2017, the District’s board enacted the Initiative’s official
 16   policies and procedures, which they refer to as the “Policy.” Plaintiffs allege that
 17   the Policy is the product of “close collaboration” between District officials and the
 18   Council on American-Islamic Relations (“CAIR”).            The Policy also allegedly
 19   triggered a series of Action Steps to address Islamophobia and discrimination against
 20   Muslim students and their family. Defendants allegedly publicly rescinded the
 21   Policy at a school board meeting on July 25, 2017, a month after Plaintiffs filed the
 22   First Amended Complaint.        Despite this allegedly public rescission, Plaintiffs
 23   contend that the Defendants continue to execute the Initiative, including through
 24   continued interaction with CAIR. Plaintiffs contend that this continued interaction
 25   is evidenced by an “Islamophobia Toolkit” CAIR provided to District officials after
 26   July 25, 2017.
 27           B.    Relevant Procedural History
 28           On February 20, 2018, the Plaintiffs filed a motion for a preliminary

                                                –2–                                    17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.539 Page 3 of 14




  1   injunction, comprised of over two hundred pages of exhibits and the supporting
  2   declarations of Plaintiffs Citizens for Quality Education San Diego, San Diego Asian
  3   Americans for Equality Foundation, Scott Hasson, Chaoyin He, Xuexun Hu, Kevin
  4   Steel, and Jose Velazquez. (ECF No. 26.) Defendants have not yet filed an
  5   opposition to the motion for a preliminary injunction.
  6            In their motion for a preliminary injunction, Plaintiffs seek an order enjoining
  7   the Defendants from:
  8            1.    Implementing and executing the Initiative as detailed in the Policy’s
  9            “Action Steps” or any similar policy;
 10            2.    Permitting CAIR, its employees, agents, and representatives to advance
 11            their organizational objectives within the District; and
 12            3.    Adopting and implementing the CAIR Committee’s “Islamophobia
 13            Toolkit” and all related online resources, recommended books, and
 14            instructional materials, together with all such materials currently in use in the
 15            District. (Id. at 21–22.)
 16            Plaintiffs also filed an ex parte motion for permission to pursue “limited
 17   expedited discovery” for their preliminary injunction motion.            (ECF No. 25.)
 18   Defendants have not filed a written opposition to the ex parte motion. Several days
 19   after the filing of the preliminary junction and ex parte motions, the parties submitted
 20   the joint motion. (ECF No. 27.) The Court now rules on the ex parte and joint
 21   motions.
 22      II.        LEGAL STANDARD
 23            Rule 26(d) of the Federal Rules of Civil Procedure generally provides that
 24   formal discovery will not commence until after the parties have conferred as required
 25   by Rule 26(f). FED. R. CIV. P. 26(d)(1). Courts may permit expedited discovery
 26   before the Rule 26(f) conference upon a showing of good cause. See Apple Inc. v.
 27   Samsung Elecs. Co., 768 F. Supp. 2d 1040, 1044 (N.D. Cal. 2011); In re
 28   Countrywide Fin. Corp. Derivative Litig., 542 F. Supp. 2d 1160, 1170 (C.D. Cal.

                                                  –3–                                    17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.540 Page 4 of 14




  1   2008). “Expedited discovery is not the norm” and, therefore, the moving party “must
  2   make some prima facie showing of the need for the expedited discovery.” Merrill
  3   Lynch, Pierce, Fenner & Smith v. O’Connor, 194 F.R.D. 618, 623 (N.D. Ill. 2000)
  4   (emphasis in original) [hereinafter “Merrill Lynch”]. Good cause exists when the
  5   need for expedited discovery, in consideration with the administration of justice,
  6   outweighs the prejudice to the responding party. See Am. LegalNet, Inc. v. Davis,
  7   673 F. Supp. 2d 1063, 1066 (C.D. Cal. 2009) (internal quotations and citations
  8   omitted).
  9         The good cause standard may be satisfied when a party seeks a preliminary
 10   injunction. Id.; see also Qwest Commc’ns Int’l, Inc. v. WorldQuest Networks, Inc.,
 11   213 F.R.D. 418, 419 (D. Colo. 2003). In the context of a pending preliminary
 12   injunction motion, expedited discovery may be ordered if “it would better enable the
 13   court to judge the parties’ interests and respective chances for success on the merits
 14   at a preliminary injunction hearing.” Yokohama Tire Corp. v. Dealers Tire Supply,
 15   Inc., 202 F.R.D. 612, 613 (D. Ariz. 2001) (internal quotations and citations omitted).
 16   But the mere fact that party has moved for a preliminary injunction does not thereby
 17   entitle the party to receive expedited discovery. Am. LegalNet, Inc., 673 F. Supp. 2d
 18   at 1066. Any discovery sought for a preliminary injunction must be evaluated
 19   against the purpose of a preliminary injunction, i.e., to preserve the status quo.
 20   Disability Rights Council of Greater Wash. v. Wash. Metro. Area Transit Auth., 234
 21   F.R.D. 4, 7 (D.D.C. 2006). A court should examine the requested discovery based
 22   on the entirety of the record to date and the reasonableness of the request in light of
 23   all surrounding circumstances. Am. LegalNet, Inc., 673 F. Supp. 2d at 1067, Merrill
 24   Lynch, 194 F.R.D. at 624. Courts examine the reasonableness of the request by
 25   considering a non-exhaustive set of factors: (1) whether a preliminary injunction is
 26   pending, (2) the breadth of the discovery requests, (3) the purpose for requesting the
 27   expedited discovery, (4) the burden on the defendant of compliance with the
 28   requested discovery, and (5) how far in advance of the typical discovery process the

                                                –4–                                   17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.541 Page 5 of 14




  1   request was made. Am. LegalNet, Inc., 673 F. Supp. 2d at 1067 (quoting Disability
  2   Rights Council of Greater Wash., 234 F.R.D. at 6).
  3         A court may deny a motion for expedited discovery if a moving party seeks
  4   discovery that is not narrowly tailored to obtain information relevant to a preliminary
  5   injunction determination and instead goes to the merits of the party’s claims. Am.
  6   LegalNet, Inc., 673 F. Supp. 2d at 1069; see also Profil Institut Fur
  7   Stoffwechselforschung GbmH v. Profil Inst. for Clinical Research, No. 16-cv-2762-
  8   LAB-BLM, 2016 WL 7325466, at *4 (S.D. Cal. Dec. 16, 2016). A court always
  9   retains discretion to prevent excessive or burdensome discovery in the interests of
 10   justice. Qwest Commc’ns Int’l, Inc., 213 F.R.D. at 419. Accordingly, the court may
 11   save an otherwise impermissibly overbroad or burdensome expedited discovery
 12   request by excising the offending aspects of the discovery request. See, e.g.,
 13   Roadrunner Intermodal Servs., LLC v. T.G.S. Transportation, Inc., No. 17-cv-
 14   01056-DAD-BAM, 2017 WL 3783017, at *3 (E.D. Cal. Aug. 31, 2017) (limiting
 15   scope of requested discovery that was not sufficiently tailored).
 16      III.   DISCUSSION
 17         Plaintiffs seek permission to serve four document production requests on
 18   Defendants.    (ECF No. 25-3 (“Plaintiffs’ Proposed Requests for Expedited
 19   Production of Documents”).) These requests seek “all documents” in Defendants’
 20   possession, custody, or control which concern (1) the development of the “Anti-
 21   Islamophobia Initiative” since July 25, 2017; (2) the development of the “Policy”
 22   since July 25, 2017; (3) the development of the “Islamophobia toolkit” since July
 23   25, 2017; and (4) CAIR and its employees, agents, and representatives sent to or
 24   from Defendants since July 25, 2017. (Id. at 6–7.)
 25         Defendants represent that they are not opposed to providing documents
 26   responsive to Plaintiffs’ expedited discovery request. (ECF No. 27 ¶2.) The burden
 27   to show good cause for the expedited discovery nevertheless rests with Plaintiffs
 28   because they seek to open discovery outside of the general framework established

                                                –5–                                   17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.542 Page 6 of 14




  1   by the Federal Rules of Civil Procedure. While the Court views Defendants’
  2   representation as placing a thumb in favor of permitting some form of expedited
  3   discovery, it does not resolve whether Plaintiffs have shown a need for the requested
  4   discovery or whether the scope of the requested discovery is not overly broad or
  5   unduly burdensome.1 The Court therefore proceeds to address these issues.
  6         A.     Plaintiffs Have Established a Reasonable Need for Expedited
  7                Discovery
  8         Plaintiffs argue their request for expedited discovery is reasonable given their
  9   intention to seek a preliminary injunction against Defendants’ ongoing
 10   unconstitutional policies and practices. (ECF No. 25-1 at 5.) They claim to seek
 11   expedited discovery “to obtain additional facts directly relevant to their [preliminary
 12   injunction] motion as quickly as possible so that the Court may consider them in its
 13   decision.” (Id.)
 14         Plaintiffs’ need for expedited discovery is a tempered one. On the one hand,
 15   “[t]o be sure, Plaintiffs already have extensive evidence in support of their claims.”
 16   (ECF No. 25-1 at 5.) Indeed, Plaintiffs have submitted over two hundred pages of
 17   exhibits and declarations in support of their preliminary injunction motion. (ECF
 18   Nos. 26-2, 26-3.) These exhibits include CAIR-provided materials, email exchanges
 19   between CAIR-associated individuals and District officials, and publicly available
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              As noted, the joint motion the parties filed requests that the Court “defer”
      ruling on Plaintiffs’ ex parte motion. (ECF No. 27.) The Court declines to do so.
 22   For one, the Plaintiffs filed an ex parte motion, asking this Court to consider their
 23   request outside of regularly noticed motion practice. Such a motion presupposes
      that swift judicial intervention is necessary for the relief requested. Despite the
 24   parties’ evident desire to cooperate on Plaintiffs’ proposed discovery requests,
 25   Plaintiffs’ ex parte motion remains pending before the Court. Second, the substance
      of Plaintiffs’ motion asks the Court to determine whether they may seek discovery
 26   outside of Rule 26(d)’s general timing. This is significant because the Plaintiffs had
 27   other options available. Rule 26(d) permits the parties to stipulate to discovery
      outside of Rule 26(d)’s general timing. FED. R. CIV. P. 26(d). Here, no stipulation
 28   was made.
                                                –6–                                   17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.543 Page 7 of 14




  1   information from the District regarding the Initiative and Policy. (Id.) Certain
  2   information was obtained from the District through Plaintiffs’ public records
  3   request. (ECF No. 25-1 at 2.) On the other hand, there is a temporal limitation to
  4   the factual information Plaintiffs have provided to support their preliminary
  5   injunction motion. Plaintiffs contend that although the District publicly rescinded
  6   its Policy on July 25, 2017, the rescission was a “sham” in light of documents
  7   showing interactions between CAIR and District officials and employees after that
  8   date. (Id. at 6.) In support of their motion for a preliminary injunction, Plaintiffs
  9   have provided three emails reflecting these interactions after July 25, 2017. (ECF
 10   No. 26-3, Exs. 32–34.) The last email produced by the District in response to
 11   Plaintiffs’ public records requests is dated August 10, 2017. (ECF No. 25-1 at 3
 12   n.6.)
 13           Whether or not Defendants’ rescission was a “sham,” facts pertaining to the
 14   District’s conduct after the public rescission of the Policy may be relevant to the
 15   question of whether Plaintiffs face ongoing irreparable harm from a policy that
 16   allegedly violates the First Amendment of the Federal Constitution. Plaintiffs’
 17   assertion of irreparable harm in their preliminary injunction motion stems from the
 18   existence and implementation of an allegedly unconstitutional policy. (ECF No. 26-
 19   1 at 20.) In the First Amendment context, irreparable harm may be demonstrated
 20   through a likelihood of success on the merits of a First Amendment claim. See
 21   Sammartano v. First Judicial Dist. Court, 303 F.3d 959, 976 (9th Cir. 2002). Here,
 22   Plaintiffs assert that the additional evidence will allow them to provide “further
 23   evidence of the Initiative’s discriminatory purpose and effect.” (ECF No. 25-1 at 5.)
 24   In light of the evidence Plaintiffs have provided, the Plaintiffs have established a
 25   reasonable need for their expedited discovery. Even with the documents submitted
 26   with their preliminary injunction motion, the Court finds that it is in the interest of
 27   the administration of justice in this case to err on the side of caution to more fully
 28   develop the factual record on Plaintiffs’ preliminary injunction motion.

                                                –7–                                   17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.544 Page 8 of 14




  1         B.     The Requested Discovery is in Part Overly Broad for the Limited
  2                Purpose of a Preliminary Injunction
  3         Plaintiffs’ document requests appear narrowly tailored with respect to the time
  4   period they cover. All document requests only seek documents since July 25, 2017.
  5   This time frame is thus consistent with Plaintiffs’ need for the expedited discovery—
  6   Plaintiffs do not seek documents prior to the public rescission of the Policy.
  7         But the redeeming nature of the document requests’ time frame is undermined
  8   by aspects of the document requests which step beyond what is necessary “to
  9   preserve the status quo.” Am. LegalNet, Inc., 673 F. Supp. 2d at 1068–69 (finding
 10   discovery requests that were overbroad impermissibly sought matter “wholly
 11   irrelevant” to preliminary injunction motion). The hallmark of an impermissible
 12   merits discovery request—although framed as a limited discovery request necessary
 13   to establish a factual record for a preliminary injunction—is the request’s
 14   overbreadth. See, e.g., Profil Institut Fur Stoffwechselforschung GbmH, 2016 WL
 15   7325466, at *3 (finding overbroad discovery requests were “aimed at conducting
 16   substantial discovery related to the merits of this dispute prior to the Rule 26(f)
 17   conference). Plaintiffs’ definitions of certain terms and the scope of one document
 18   request are overly broad and, absent this Court’s intervention, would lead down the
 19   road to premature merits discovery.
 20         First, all document requests are not limited to documents of the named
 21   Defendants, or even to a limited number of employees who Plaintiffs have identified
 22   through the documents they obtained through public records requests submitted in
 23   support of the preliminary injunction motion. Rather, the requests define the term
 24   “Defendant” to include any of Defendants’ “representatives, employees, agents,
 25   attorneys, accountants, insurers and any person acting on behalf of any of them
 26   within the San Diego Unified School District.” (ECF No. 25-3, Definitions ¶1.)
 27   Plaintiffs cannot show good cause for such sweeping expedited discovery in view of
 28   the preliminary injunction motion. See Qwest Commc’ns Int’l, Inc., 213 F.R.D. at

                                               –8–                                     17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.545 Page 9 of 14




  1   419 (“In applying the ‘good cause’ standard under Rule 26(d), the court should
  2   consider the scope of the requested discovery.”) Plaintiffs’ own public records
  3   requests to the District only named sixteen specific individuals, including the named
  4   Defendants and a limited number of other District officials and employees. (ECF
  5   No. 26-3 Ex. 40.) Plaintiffs later reduced this number to thirteen individuals. (Id.
  6   Ex. 41.) Plaintiffs’ own preliminary injunction motion is premised on the actions of
  7   the named Defendants and a limited number of District officials. (See generally ECF
  8   No. 26-1.) Although Plaintiffs’ sweeping definition of the term “Defendant” may
  9   be proper for merits discovery, it is not narrowly tailored to what is essential to
 10   resolve their preliminary injunction motion. See Rovio Entm’t Ltd. v. Royal Plush
 11   Toys, Inc., 907 F. Supp. 2d 1086, 1100 (N.D. Cal. 2012) (finding that plaintiff had
 12   failed to show requested discovery was necessary to obtain injunctive relief). Rather
 13   than preclude any expedited discovery on this ground, the Court will limit Plaintiffs’
 14   definition of the term, solely for the purposes of their expedited discovery request,
 15   to the named Defendants and any District officials or employees identified in
 16   Plaintiffs’ pending preliminary injunction motion and supporting exhibits.
 17         Second, at least two of Plaintiffs’ production requests are facially overbroad
 18   when compared to the preliminary injunction motion. For example, Document
 19   Request Number 3 seeks all documents concerning the “Islamophobia Toolkit.”
 20   (ECF No. 25-3 at 6.) Plaintiffs define the term “Islamophobia Toolkit” as “all
 21   memoranda, reports, summaries, manuals, brochures, books, pamphlets, periodicals,
 22   instructional materials, educational resources, training materials, and statements
 23   provided to Defendants by CAIR, its employees, agents, or representatives, and
 24   anyone working in concert with them, on or after July 25, 2017. (Id. Definitions ¶8.)
 25   Under Plaintiffs’ definition, anything that CAIR provided Defendants after July 25,
 26   2017 is effectively part of the “toolkit.” This definition stands in stark contrast to
 27   Plaintiffs’ preliminary injunction motion, which expressly identifies the District’s
 28   “new ‘Islamophobia Toolkit,’” as an example of the District’s continued

                                               –9–                                   17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.546 Page 10 of 14




  1   implementation of the action steps. (ECF No. 26-1 at 8–10.) That toolkit, provided
  2   as an exhibit to the motion, is a one-page document listing electronic links to the
  3   resources that comprise that kit. (Id. Ex. 35.) Plaintiffs’ definition so overwhelms
  4   the significantly circumscribed meaning of the toolkit in Plaintiffs’ preliminary
  5   injunction motion and related exhibit that Document Request Number 3 clearly
  6   seeks discovery that is not narrowly tailored. The Court accordingly will limit the
  7   scope of this request to any subsequent or related versions of the “toolkit” identified
  8   in Plaintiffs’ preliminary injunction and the corresponding exhibit of the toolkit,
  9   which Defendants have developed, are developing or intend to develop. The Court
 10   cautions Plaintiffs that the Court’s use of the word “related” should not be construed
 11   by the parties to effectively reinstate the document request as proposed.
 12         Document Request Number 4 is also overly broad. The document request
 13   seeks all documents in Defendants’ possession, custody or control concerning CAIR
 14   and its employees, agents, and representatives sent to or from Defendants since July
 15   25, 2017. (ECF No. 25-3 at 6.) The scope of this request is sweeping and seeks
 16   matter “wholly irrelevant” to their preliminary injunction motion. See Am. LegalNet,
 17   Inc., 673 F. Supp. 2d at 1068–69 (finding discovery requests that were overbroad
 18   impermissibly sought matter “wholly irrelevant” to preliminary injunction motion).
 19   Plaintiffs effectively seek any documents between Defendants and CAIR
 20   irrespective of whether those documents actually concern the allegedly unlawful
 21   Initiative or the Policy. The request thus extends beyond what is necessary to
 22   maintain the status quo, in view of the preliminary injunction motion. The Court
 23   will not countenance a general fishing expedition into Defendants’ documents in the
 24   guise of discovery necessary for a preliminary injunction. The Court will thus limit
 25   this document request to only those documents between Defendants and CAIR
 26   which concern the Policy or the Initiative.
 27         Lastly, the Plaintiffs’ document requests purport to impose on Defendants a
 28   “continuing” obligation to produce “additional responsive documents.” (ECF No.

                                               – 10 –                                 17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.547 Page 11 of 14




  1   25-3, Instructions ¶4.) Plaintiffs would require Defendants to provide supplemental
  2   documents even when those documents could not be entertained by the Court to
  3   resolve their preliminary injunction motion.        The requested discovery thus
  4   impermissibly extends beyond a need to more fully develop the factual record for
  5   Plaintiffs’ preliminary injunction motion. By doing so, the continuing obligation
  6   opens the door to merits discovery. The Court will thus limit Defendants’ production
  7   obligations under the expedited discovery requests. Although Defendants should
  8   endeavor to produce all responsive, non-privileged documents to Plaintiffs in a
  9   reasonably prompt fashion, Defendants need not continue to produce documents
 10   responsive to the expedited discovery requests after the date on which their
 11   opposition to Plaintiffs’ preliminary injunction motion is due.
 12         C.     The Burden on Defendants
 13         Plaintiffs contend that any burden on Defendants from complying with their
 14   document requests would be minimal and assert that their requests are no different
 15   from a public records request. (ECF No. 25-1 at 5.) Defendants have not expressly
 16   identified any burden on them if they are required to comply with Plaintiffs’
 17   discovery requests. In the parties’ joint motion, Defendants claim that they need to
 18   identify the responsive hits to Plaintiffs’ production requests to determine whether
 19   Plaintiffs’ document requests are overbroad or unduly burdensome. (ECF No. 27
 20   ¶3.) This assertion places the question of whether they should have to produce any
 21   documents before the threshold question of whether the requests are overly broad
 22   and unduly burdensome. The latter inquiry can be assessed by looking at the face
 23   of the requests. See, e.g., AmLegalNet, Inc., 673 F. Supp. 2d at 1067–68 (examining
 24   the requests for facial overbreadth); see also Satmodo, LLC v. Whenever Communs.,
 25   LLC, No. 17-cv-192-AJB-NLS, 2017 WL 4557214, at *5 (S.D. Cal. Oct. 12, 2017)
 26   (same). The joint motion is also illuminative because it shows the Court that any
 27   burden Defendants would face arises from the breadth of the discovery requests’
 28   definition of the term “Defendant” and the requirement that Defendants produce

                                              – 11 –                                17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.548 Page 12 of 14




  1   responsive documents within seven days of receiving the requests. The Court
  2   addresses each potential burden.
  3         Defendants indicate that, to comply with Plaintiffs’ discovery requests, they
  4   would need to search the District’s email server “which includes thousands of
  5   employees,” which would prevent them producing the discovery on an expedited
  6   basis. (ECF No. 27 ¶3.) Here, the Court has already determined that the document
  7   requests are overly broad and unduly burdensome in certain aspects. Most relevant
  8   to the burden Defendants intimate, Plaintiffs’ requests seek documents beyond the
  9   named Defendants, or individuals expressly identified in documents that Plaintiffs
 10   have provided in support of their preliminary injunction motion. (ECF No. 25-3,
 11   Definitions ¶1.) The Court’s modification of the term “Defendant” for the purposes
 12   of the expedited discovery, however, substantially reduces the burden resulting from
 13   the proposed term’s overbreadth relative to the needs of the preliminary injunction.
 14         With respect to the timing of production, Defendants indicate that they will
 15   not be able to produce the requested documents within seven days, or even
 16   “sufficiently in advance of the March 26, 2018 hearing on Plaintiffs’ motion.” (ECF
 17   No. 27 ¶2.) While this concern stems from the original sweep of Plaintiffs’ requests,
 18   it also appears to be based on a belief that Defendants must produce any and all
 19   responsive documents within seven days. This is clearly not contemplated by
 20   Plaintiffs’ production requests, which state that the parties can make other
 21   arrangements for review or production. (ECF No. 25-3 at 1.) Moreover, Plaintiffs
 22   indicate that they are amenable to Defendants receiving more time to locate and
 23   produce responsive documents. (ECF No. 27 ¶4.) Under these circumstances, the
 24   Court finds that the seven-day time period for production is not unduly burdensome
 25   to Defendants and defers to the parties to make production arrangements they deem
 26   necessary, subject to the production cutoff identified in this Order.
 27      IV.    CONCLUSION & ORDER
 28         For the foregoing reasons, the Court ORDERS as follows:

                                               – 12 –                               17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.549 Page 13 of 14




  1         1.   The Court GRANTS Plaintiffs’ ex parte request for expedited
  2              discovery, as modified herein. (ECF No. 25.)
  3         2.   For the purposes of the expedited discovery requests (ECF No. 25-3):
  4              (a)   The term “Defendant” means any named Defendant and any
  5                    District officials or employees expressly identified in Plaintiffs’
  6                    pending preliminary injunction motion and supporting exhibits.
  7              (b)   The term “Islamophobia Toolkit” means the Islamophobia
  8                    Toolkit as identified in Exhibit 35 to Plaintiffs’ preliminary
  9                    injunction motion, and any subsequent or related versions, which
 10                    Defendants have developed, are developing, or intend to
 11                    develop.
 12              (c)   Consistent with the modified definition of the term “Defendant”,
 13                    Document Request No. 4 is limited (in italics) as follows: ALL
 14                    DOCUMENTS          in     the    POSSESSION,    CUSTODY        OR
 15                    CONTROL OF DEFENDANTS CONCERNING CAIR and its
 16                    employees, agents, and representatives sent or from Defendants
 17                    since July 25, 2017, which concern the “ANTI-ISLAMOPHOBIA
 18                    INITIATIVE” and/or the “POLICY”.
 19         3.   The parties’ joint request to defer ruling on the ex parte motion is
 20              DENIED. (ECF No. 27.)
 21         4.   The Court GRANTS the parties’ joint request to continue the hearing
 22              date on the pending preliminary injunction motion from March 26,
 23              2018 to April 23, 2018. The Court advises the parties that the hearing
 24              date on the motion is for briefing purposes only, not oral argument. The
 25              Court will advise the parties by further order if it finds that oral
 26              argument is necessary.
 27         5.   Defendants are ordered to file an opposition to Plaintiffs’ motion for a
 28              preliminary injunction no later than April 9, 2018. Plaintiffs may file

                                               – 13 –                              17cv1054
Case 3:17-cv-01054-BAS-JMA Document 28 Filed 03/05/18 PageID.550 Page 14 of 14




  1              a reply in support of their motion for a preliminary injunction no later
  2              than April 16, 2018. Plaintiffs may file an enlarged reply, not to
  3              exceed twenty pages, to account for additional factual information
  4              obtained through the expedited discovery permitted under this Order.
  5         IT IS SO ORDERED.
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  7   DATED: March 5, 2018
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                                            – 14 –                                17cv1054
